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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NEW YORK

 DEBORAH LAUFER, Individually,                             :
          Plaintiff,                                       : Case No.: 1:20-cv-414
 v.                                                        :
                                                           :
 RIVER SPRING LODGE LLC, A New York                        :
 Corporation,                                              :
              Defendant.
 _____________________________________

              PLAINTIFFS' NOTICE OF PENDENCY OF OTHER ACTIONS

       I hereby certify that the instant action is not related to any pending or closed civil or

criminal action previously filed in this Court, or any other Federal or State Court, or

administrative agency.

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served via the Court's

electronic filing system upon all parties of record this August 21, 2020.

                                                      Respectfully submitted,

                                                      Attorney for Plaintiffs:

                                                      /s/ Tristan W. Gillespie
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